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                            EXHIBIT 9
   I c'xhibits   nos. I I
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                                               ACTIVITY REPORT

                                                                             TIME     O6/26/2617 L6:83
                                                                             NAME     EURTON ELECTRIC
                                                                             FAX      5629464914
                                                                             TEL
                                                                             sER. H   BRoC6J59675s


  NO       DATE    TIME      FAX NO. /NAME                DURATION     PAGE(5)        RESULT       COMMENT


  il150    06/26   L2:@6     r.3103239251                        32    @L             OK           TX        ECM
  #161     86/26   L2:8L     t541,7476738                        36    OL             OK           TX
  st 62    a6/26   Lzia2     t70289765A6                         26    AL             OK           TX        ECM
  #163     a6/26   LztA4     r.7148852163                        aa    6A             BUSY         TX
  #164     a6/26   Lzi05     r5a3626723L                         32    AL             OK           TX        ECM
  s165     a6/26   12:66     181-39351917                    61:18     AL             OK           TX        ECM
  #167     06126   L2:@9     1.91,38318254                       33    41,            OK           TX        ECM
  s168     a6/26   L2itO     17632958765                         43    AL             OK           TX        ECM
  s1 69    06/26   L2it l    1 71 82591 6S3                      37    AL             OK           TX
  *t7a     @6/26   lzi13     L406652A7L7                         38    at             OK           TX
  s136     a6/26   I2zL4     L2L28A9AMT                          38    AL             OK           TX
  #1 66    86/26   ).2iL6    r.3176385624                        33    OL             OK           TX        ECM
  il154    a6125   L2:25     1 8438871 1 51-                     6A    oo             BUSY         TX
  hr72     a6/26   L3: 54    t7242822227.                        42    OL             OK           TX
  *t74     a6/26   13:57     1603626A1 18                        37    AL             OK           TX
  *175     a6/26   13:58     16785784938                         36    AL             OK           TX
  s176     06/26   L3:59     181-39638048                        36    OL             OK           TX
  #L77     06/26   14265     1 7817593356                        34    AL             OK           TX    ECM
  fl178    a6/2A   I4iOB     ),7L23256t47                        23    at             OK           TX    ECM
  HL79     a6/26   L4|67     1 631.5877283                       37    AL             OK           TX    ECM
  s1B6     @6/26   t4iAa     1,7036857241                        23    OL             OK           TX    ECM
  slBl     a6/26   L4249     r4646484362                         34    OL             OK           TX    ECM
  fl182    86/26   L4:LO     1 61 54595995                       3A    OL             OK           TX    ECM
  s183     a6/26   14:11     r336292LO27                         33    AT             OK           TX    ECM
  H184     s6/26   14: 13    L7062369028                         38    gL             OK           TX
  s185     a6126   I4iL4     17485479859                         24    al             OK           TX    ECM
  H187     a6126   14:16     r276525SO5te                        32    AL             OK           TX    ECM
  fl171    96126   14:18     L9A7262L600                         ag    60             BUSY         TX
  #173     a6126   14:19     L616643775I                         @a    a@             BUSY         TX
  s186     06/26   14i2L     162@43L484I                         33    OL             OK           TX    ECM
           06/26   T4 :55    7A743L0461                          43    AL             OK           RX    ECM
  s188     a6/26   15 za4    18438841.L 51                       36    OL             OK           TX
  Ht 93    06/26   15 :11    L727446s625                         oa    go             BUSY         TX
  ftL94    a6/26   15 i12    1 2153867550                        CI6   ao             BUSV         TX
  ffr.92   66/26   15 :15    1 616643775t                        80    az             BUSY         TX
  sr.95    a6/26   15 :43    14257424848                         26    AL             OK           TX    ECM
  H1.97    86/26   15 :46    L28L2562722                         32    AT             OK           TX    ECM
  s199     06/26   L5 :48    L6152262484                         42    AL             OK           TX
  H2AB     86/26   L5        1 641 483347s                       25    AL             OK           TX    ECM
  HzOL     a6/26   15 =49
                      :58    r6t282277L6 0                       33    OT             OK           TX    ECM
  h2a2     a6/26   1.5 :51   L33427L5226                         23    AT             OK           TX    ECM
  *2A3     a6/26   15 :52    r5r3232AA8B                         24    OL             OK           TX    ECM
 _*264     86126   15 :53    I3I725529L7 _                       26-   aL-            OK           TX    ECM
  #265     g6/26   1.5 :54   1 91 8654561 7                      26    OT             OK           TX    ECM
  Ht 98    z6/26   1.5 :56   r2L4366CI723                        33    AL             OK           TX    ECM
  #246     86/26   1-5 :58   I6L7479334L                         36    AT             OK           TX
  H2A7     06/26   15 :59    L3242594727                         33    OL             OK           TX    ECM
  s208     a6/26   16 i8I    t 7a62560818                        aa    aa             BUSY         TX
  H2A9     86/26   16 .92    1 402331- 8355                      25    AL             OK           TX    ECM
  #2LO     a6/26   16 tAa    T4A7629676I                         36    6L             OK           TX    ECM


                     BUSY: BUSV/NO RESPONSE
                     Nc : POOR LINE CONDITI0N / OUT 0F MEM0RY
                     CV : COVERPAGE
                     POL : POLLING
                     RET : RETRIEVAL




                                                                                                   EE 000096
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     Attn:                             I

     Company                                                             City, State
     Fax #
                                            [-ock & Safe                             pm
                           Electric Motor Repair & Rewindlng
                                                                                            BLTTZ
                                                                                          CODEMAX
                                                                                           FUTURA
                                                                                                KABA
                                                                                             Others!
                                                                            Eurton Electric Repairs and Re-
                                                                             winds all types of Locksmith
                                                                             equipment motors and coils

          R.EWTND SERVTCE                                                      MOT'OR BR,[JS!.IES

                                                                                 FREE Set of Power Tool
                                                                                 Brushes with next order .
                                                                                  Please call for details.




         Arntatures, Statorc, Field Coik, Bruke &                         Ofer goodfrom 1-I-2016 thru 12-31-2017
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   Whittier CA 90605                                                                         i nfo @e u rton el ectric. com




                                                                                                                         EE 0001 03
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    Attn:
    Co                                                                   iry State
    Fax #                                                               Phone 19A - 99i--:Ft+-
                                 Lock & Safe Equipment
                           Electric Motor Repair & Rewinding
                                                                                           BLXTZ
                                                                                         CODEMAX
                                                                                          FUTURA
                                                                                           KABA
                                                                                             Others!
                                                                           Eurton Electric Repairs and Re-
                                                                            winds all types of Locksmith
                                                                            equipment motors and coils

         RE\N'IND SERVICE                                                     MOTOR BRUSHES

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                                                                                 Brushes r'.'ith next order .
                                                                                  Please call for detaiii.




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   9920 Painter Ave.                                                                         www. eu rtonelectric. com
   Whittier CA 90605                                                                        info@eu rtonelectric. com

                                                                                                                        EE 000146
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                                                                                                     a


    Attn:
    Com                                                                       ty, State
    Fax #   a - sz.y-          Phone L
           New Replacement'Armatures, Parts, and
                      Rewinding Service
         MOTOR BRUSHES               CAPACITORS
            FREE Set of Power Tool
            Brushes with next order .                                                 Ns
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             Please call for details.                                                 \/
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         R.EWIND .SER.VICE -                                                                 ARMATI.IR.ES
                                                                                         RIDGID 300,535, & 700
                                                                                        ttNew' replacement armatures

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                           u'itfl$
                                                                               PART #              Model       each            3-5
                                                                           44010ER            300 & s3s      s122.00        s1o3.so
                                                                           440ssER            700 &270       S127.so        Sne.zs
                                                                              BOSCH 11304 "Brute", I1245EVS,
                                                                               113168VS, 113178VS, Hammers
                                                                                       "Newt rcplacement armatures
                                                                                 PART #              Model      each           3-5
                                                                           AB11304NS                 11304    Sres.oo       Slzr.so
        Armatures, Stators, Field Coils, Broke &
        Clutch Coils, Specialty Coils and More!!                           ER1614011074              above     125.00       Su2.so

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                                                    ACTIVITY REPORT

                                                                                  TIME      O7/13/2il.7 L5:O3
                                                                                  NAME      EURTON ELECTRIC
                                                                                  FAX       562946A214
                                                                                  TEL
                                                                                  SER. fl   BROC6J595755


  NO       DATE     TIME      FAX NO../NAME                   DURATION      PAGE(S)         RESULT       COMMENT


  fi086    07/L2    L3:31.    1 38623S6973                            a2    ga              CANCEL       TX
  H084     87112    13:31     I 4198933553                            32    AL              OK           TX        ECM
  $885     a7l12    1a.aa     1 2156594384                            ao    6A              BUSY         TX
           a7/L2    I4i12     7083858664                              29    AL              OK           RX        ECM
  #oB7     a7/L2    14r 15    L95I2562L84                             4g    AL              OK           TX        ECM
  sa88     a7lL2    14:53     r3862384973                             36    AL              OK           TX        ECM
  #089     67/t2    L4254     19197825133                             37    AL              OK           TX        ECM
  *09@     @7/L2    L4:55     L4tO7376764                             3@    OL              OK           TX        ECM
  sB91     a7/r2    14:56     130t 3735394                            35    OL              OK           TX        ECM
  ilo92    07/12    I4.57     19148342995                             43    01              OK           TX
  s693     07/L2    14:59     18453469190                             34    8L              OK           TX        ECM
   494     a7/L2    15i@g     19736274252                             3B    6L              OK           TX
   095     a7/t2    L5:01     1 31 792541 66                          27    OL              OK           TX        ECM
   496     g7/r2    t5zO2     T6LA2665775                             4L    6L              OK           TX        ECM
   497     07/L2    15;64     I229 38803 86                          36     at              OK           TX        ECM
   898     a7/L2    15: 05    1 801   773L835                     @L:02     AL              OK           TX
   899     07172    15: 06    I432 56393 97                           31    AL              OK           TX     ECM
   Lga     a7lL2    15:08     1915 775L929                            3A    ot              OK           TX     ECM
           07lt2    15:15     BA55 43447 2                            28    AL              OK           RX     ECM
           67/13    48.52                                             2t    AL              OK           RX     ECM
   tal     s7/r3    E9:.26    16264472536                             ao    60              BUSY      TX
   LA2     a7/13    69:37     12035961344                             2L    AI              OK        TX        ECM
   LA3     a7/13    IAt84     L6264474534                         a!32      ao              NG        TX
   to4     a7/I3    11: 48    t9783675744                             49    at              OK        TX        ECM
   105     0711.3   11: 49    I 3373654548                            36    6I              OK        TX        ECM
   LE6     a7/r3    11: 56    t20248395L2                             39    8T              OK        TX        ECM
   TgB     07/t3    1L: 52    19L57758222                             39    AL              OK        TX
   t- 69   a7/13    11: 54    17t36433243                             39    8T              OK        TX
   114     07/L3    11.: 56   1 7A33851758                            36    u.              OK        TX        ECM
   111     07/L3    11:57     t6e22757582                             40    81,             OK        TX
  sil.2    a7/13    LL: 58    L3664259324                             39    8L              OK        TX
  *113     07/L3    11:59     161.58895773                            27    AI              OK        TX        ECM
  H11.4    a7lL3    12:6O     1385591 5653      ,                     39    AI              OK        TX
  $1 15    87/L3    12:82     L2053495747                             3B    OL              OK        TX
  s11.6    67/L3    12i63     L4492958366                             29    EI              OK        TX        ECM
  sL17     67/L3    L2iA4     1 8A47455085                            37    6L              OK        TX
  slr.8    07lL3    L2:05     r3L62638Ls6                             39    AT              OK        TX
  #L67     a7/13    L2:67     L7L78989347                             43    AL              OK        TX        ECM
  HL2A     07/13    tzzoB     L8LO7443798                             31.   OT              OK        TX        ECM
  HLzT     87/L3    L2.Ag     L2A7A7B325L                             47    OL              OK        TX        ECM
  #L22     a7/13    L2iLT     1 3362749989                            39    AL              OK        TX
  #11.9    67/L3    L2:26     L8t28864573                        gl"iAE     aL              OK        TX        ECM
           a7/13    Lzi 4g                                            28    a6              NG        RX
           07/13    L2.54     61s 889 6773                            27    AL              OK        ru(       ECM
           a7/n     13:05                                             39    at              OK        ru<       ECM
           a7/13    t4:ao     335 658 3463                            27    OL              OK        RX        ECM
  *123     a7/t3    14:59     L8L2479el.40                            52    OL              OK        TX
  HL24     07/13    1.5igo    1 5083396921.                           2S    AL              OK        TX        ECM
  #t25     07/t3    15:01     t8L23769729                             26    AL              OK        TX        ECM
  s126     z7/L3    15:82     1 5A36456557                            30    oJ.             OK        TX        ECM


                      BUSY: BUSY/NO RESPONSE
                      NG : POOR LINE C0NDITION / OUT 0F MEMORY
                      CV : COVERPAGE
                      POL : POLLING
                      RET : RETRIEVAL




                                                                                                         EE 000270
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     Attxa         ze                                                                             a          I          t1
    Company                                                                       City, State
    Fax #                                                                         Phone                                                                   50
         Eieate'ic Motor Repain, RewisrdEsrg & ReBaEn trants
                                                                                               Motor Bnushes
                                                                                          SwitcFres, Bearings
                                                                                        Fower Cords & PluEs
                                                                                      Terrmimals, Repalr Tags
                                                                    eG                                                     Amd More!
         ffi.EWEND SEFAVECE'                                                                    AR.MATE.JFRHS
                                                                                               RIDGID 300, 535, & 700
                                                                                             .l'Nen"? replacement armatur:es

                            ffiWrd
                                                                                     PART #
                                                                                  44010ER
                                                                                                        Model            each              3-5
                                                                                                     300 & 535        $rzz.oo          Sr03.5o
                                                                                  44055ER            700 & 270        $rzz.so          S114.7s

                                                                                    BOSCH 11304 "Brute", 11245EVS,
                                                                                     11316EVS, 113t7EVS, Elammers
                                                                                            (tNewt'
                                                                                                        rcplacement armatures

                                                                                       PART #               Model         each             3-5

      Armatures, Stalors, Field Coils, Brake &                                   AB11304NS                  11304      $rss.oo         S121.so
      CIutch Coik, Speciale Coils ond More!!
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'vVhittier CA 90605                                                                                  i nfo@eurion electric. corn




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